Case 3:17-cv-02768-MAS-LHG Document 48 Filed 03/29/19 Page 1 of 2 PagelD: 425

UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY

Charles X. Gormally, Esq. (CG2979)
Thomas Kamvosoulis, Esq. (TK0348)
BRACH EICHLER LLC

101 Eisenhower Parkway

Roseland, New Jersey 07068-1067
(973) 228-5700

Attorneys for Plaintiff

 

ANA LIDIA ALPIZAR-FALLAS, Civil Action No.: 3:17-cv-02768-MAS-LHG
individually and on behalf of all
others similarly situated,

Plaintiff,

(Document Electronically Filed)
VS.

ESTATE OF FRANK E. FAVERO,
JOHN DOE 1-5, JOHN DOE
INCORPORATED 1-5 (fictitious
designation), BRIAN BARBOSA
and PROGRESSIVE GARDEN
STATE INSURANCE COMPANY,

Defendants.

 

 

STIPULATION OF DISMISSAL WITH PREJUDICE
It is hereby stipulated and agreed upon by and between Plaintiff, Ana Lidia Alpizar-
Fallas (“Plaintiff”), and Defendants Estate of Frank E. Favero, Brian Barbosa and Progressive
Garden State Insurance Company (collectively, “Defendants”), that any and all claims asserted
by Plaintiff in the above-entitled matter are hereby dismissed with prejudice and without costs to

any party.

BE:10277946. 1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 48 Filed 03/29/19 Page 2 of 2 PagelD: 426

BRACH EICHLER LLC EVERSHEDS SUTHERLAND (US) LLP
Attorneys for Plaintiff Attorneys for Defendants

Progressive Garden State Insurance
Company and Brian Barbosa

/s/Thomas Kamvosoulis /s/ Frank Nolan, Esq.
CHARLES X. GORMALLY, ESQ. FRANK NOLAN, ESQ.
THOMAS KAMVOSOULIS, ESQ.

Date: March 27, 2019 Date: March 27, 2019

CIPRIANI & WERNER, P.C.

Attorneys for Defendant 7 tp
Estate of Frank Favero So Ordered this d day

 

of Mich 20/7
/s/Francis J. Leddy, TI, Esq. CLL ang
FRANCIS J. LEDDY, III, ESQ. Hon. Mic Shipp, USDJ

Date: March 27, 2019

 

 

BE:10277946.1/ALP055-27 1607
